4:13-cr-03115-JMG-JMD       Doc # 55    Filed: 11/06/13    Page 1 of 1 - Page ID # 145




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                  Plaintiffs,                                 4:13CR3115
     vs.
                                                  MEMORANDUM AND ORDER
JUSTIN LEE ORSTAD,
                  Defendants.



     IT IS ORDERED:

     1)    The motion of attorney Timothy P. Sullivan to withdraw as counsel of
           record for defendant Justin Lee Orstad, (filing no. 54), is granted.

     2)    The clerk shall delete Timothy P. Sullivan from any future ECF
           notifications herein.

     November 6, 2013.

                                               BY THE COURT:
                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge
